Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 1 of 15




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 1:21-cv-01840-RMR-STV

  VINCET DAMON DITIRRO,

         Plaintiff,

  v.

  MATTHEW J. SANDO, TROOPER, CALEB SIMON, TROOPER, COLORADO STATE
  PATROL, CITY OF COMMERCE CITY, ADAMS COUNTY SHERIFF, Richard A.
  Reigenborn, in his official capacity, DOE DEFENDANTS INDIVIDUAL 1-10, DOE
  DEFENDANTS AGENCY OF THE COLORADO STATE OR LOCAL GOVERNMENTS 11-
  20.

        Defendants.
  ______________________________________________________________________________

   DEFENDANT ADAMS COUNTY SHERIFF, RICHARD A. REIGENBORN’S MOTION
               TO DISMISS PURSUANT TO Fed. R. Civ. P. 12 (b)(5) & (6)
  ______________________________________________________________________________

         Defendant, the Adams County Sheriff, Richard A. Reigenborn, in his official capacity

  hereby moves for dismissal of Plaintiff’s First Amended Complaint pursuant to Fed. R. Civ. P

  12(b)(5) and (6). As grounds therefore, he states as follows:

                       FACTUAL AND PROCEDURAL BACKGROUND

         I.      Relevant Allegations of the First Amended Complaint

         This case arises out of a traffic stop that occurred on August 7, 2018. The Plaintiff, Vincent

  Damon Ditirro, alleges that on that date, he was pulled over by Colorado State Patrol Trooper

  Matthew J. Sando under suspicion of DUI. Mr. Ditirro’s First Amended Complaint alleges that

  both Trooper Sando and an additional Colorado State Patrol Trooper, Caleb Simon “beat and

  physically attacked” him causing him physical and mental injuries. (ECF 44, First Am. Compl. ¶



                                                   1
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 2 of 15




  10.) Mr. Ditirro’s complaint also alleges that Troopers Sando and Simon failed to ensure Plaintiff

  received medical attention for the injuries that were sustained because of the beating. (Id.) Troopers

  Sando and Simon are both alleged to be “trooper[s] with the Colorado State Patrol,” who “at all

  times w[ere] working for and under the direction of Colorado.” (Id. at ¶¶ 5 & 6.)

         The only explicit references to Sheriff Reigenborn in Mr. Ditirro’s complaint consist of

  him being listed in the caption and in the introductory paragraph, which does no more than

  enumerate the defendants in the caption. (ECF 44, First Am. Compl. at 1.) Paragraph 26 of the

  first amended complaint broadly states:

         In light of the duties and responsibilities of the Defendant police departments,
         Sheriff’s office officers, and state trooper/patrol officers who exercise control over
         individuals detained, the need for scrutiny and specialized training, supervision,
         monitoring and or discipline regarding the safety and attention of detainees is so
         obvious, and the inadequacy of proper appropriate training, supervision, monitoring
         and or discipline is so likely to result in the violation of constitutional rights, such
         as those described herein, that the Defendants are liable for their failure to
         appropriately train, supervise, monitor and or discipline Defendants. Such failure
         to properly train and supervise their employees was and continues to be the moving
         force and proximate cause of the violation of the Plaintiff’s constitutional rights
         and the rights of other detainees.

  (Id. at ¶ 26.) Otherwise, the complaint contains no allegations that expressly reference Sheriff

  Reigenborn, or more generically the Adams County Sheriff, by name or by function.

         The complaint does contain two passing references to Adams County (which is a separate

  legal entity from the Sheriff).1 They are as follows:

         •   “Defendant Adam is a governmental agency of the State of Colorado for enforcing the

             Criminal Law.” (Id. at ¶ 7.); and



  1
   See Mullen v. Bd. of Commissioners [for Adams Cty.], No. 21-cv-02398-RM-NYW, 2022 WL
  1266618, 2022 U.S. Dist. LEXIS 77479, *16 (D. Colo. April 28, 2022).


                                                    2
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 3 of 15




         •     “Defendants Colorado State Patrol, Commerce City, and Adam County employed,
               supervised and assisted Defendants Matthew J. Sando and Caleb Simon in all the harm
               herein alleged by assisting or having their agents and assigns assist in harming the
               Plaintiff and further their agents and assigns failed to prevent the harm alleged in this
               Complaint and either willfully allowed said harm to continue or actively through their
               agents and assigns participated directly in harm alleged.” (Id. at ¶ 11.).

  The complaint also contains the following additional conclusory assertion: “Each Defendant and

  Doe Defendant, Individual Defendant, or Agency Defendant were and are at all times the agent

  and principal of each and every Defendant whether Individual, Doe or Agency Defendant.” (Id. at

  ¶ 7.) Otherwise, the body of the first amended complaint refers collectively to all “Defendants”

  over 80 times in the vast majority of its paragraphs.

         II.      Relevant Federal Procedural History

         Mr. Ditirro initiated this federal action on July 7, 2021 while simultaneously pursuing

  identical state court litigation. (See Section III, below.) On May 5, 2022, Mr. Dittiro filed his First

  Amended Complaint. (ECF 44.) On July 12, 2022, Mr. Dittiro filed a purported proof of service

  indicating a paralegal for his counsel’s law firm had personally effectuated service on Sheriff

  Reigenborn on behalf of the Adams County Sheriff’s office (which is not a named defendant).

  (ECF 52). As the attached affidavits from two Adams County Sheriff’s department employees

  reveal, however, Mr. Dittirro did not properly effectuate service on the Sheriff (who would be the

  proper party). The in-house process did not properly serve an authorized appointee of the Sheriff

  despite being provided the necessary information. See Ex. A, Affidavit of Karen Larson. Instead,

  he simply dropped a sealed copy of the summons through an office window. Id. at ¶ 5. Nor did he

  provide a copy of the complaint with the summons. See Ex. B, Affidavit of Michelle R. King at ¶

  5.




                                                     3
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 4 of 15




         III.    Pending Parallel State Court Case

         On August 6, 2020, Mr. Ditirro sued the “Adams County Sheriff’s Department” in the

  Adams County, Colorado District Court, alleging claims under § 1983 and Colo. Rev. Stat. § 13-

  21-131. See Ditirro v. Sando et al., 2020CV31045, complaint attached hereto as Exhibit C. A co-

  defendant removed that suit to this Court. See Case No. 20-cv-03412-RM-NRN. In order to obtain

  remand to state court, Mr. Ditirro voluntarily dismissed his § 1983 claims. See id. at ECF 17. On

  remand, the Adams County Sheriff’s Department (through Sheriff Reigenborn) moved to dismiss

  Mr. Dittiro’s statutory claims brought pursuant to Colo. Rev. Stat. § 13-21-131 because the alleged

  state actors, Troopers Sando and Simon were just that—employees of the Colorado State Patrol.

  They were not employees or agents of the Adams County Sheriff. The Adams County District

  Court agreed with Sheriff Reigenborn’s argument and dismissed Mr. Dittirro’s claims against him

  with prejudice. See Ex. D, February 26, 2021 Order. Mr. Dittiro sought and failed to obtain a

  further amendment to his complaint and reconsideration of that order.

         On May 22, 2021, Mr. Ditirro filed a notice of appeal from the Adams County District

  Court. See Ditirro v. Sando et al., No. 2021CA739 (Colo. Ct. App.). On September 13, 2021, Mr.

  Ditirro filed his opening brief before the Colorado Court of Appeals (despite having filed the

  present action on July 7, 2021). On November 1, 2021, Sheriff Reigenborn (on behalf of the

  Sheriff’s Department) filed his answer brief. Mr. Ditirro did not file a reply brief. If Mr. Ditirro

  wants to abandon his appeal,2 he has not notified the Colorado Court of Appeals of any such intent.




  2
    ECF 47, Plaintiff’s Opposition to CSP’s MTD at 3 (“All State court proceedings have ceased.
  Here, the Colorado Court of Appeals matter, as of October 18th was allowed to lapse. Thus, there
  are now no state court proceedings, which address solely procedural questions of law.”).


                                                   4
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 5 of 15




  On June 24, 2022, the Colorado Court of Appeals dismissed in part several, but not all, of the

  appellees. See Ex. E, Order. The appeal remains pending as to the Adams County Sheriff.3

                                          LEGAL STANDARD

          Under Fed. R. Civ. P. 12(b)(5), a defendant may move to dismiss a complaint for

  insufficient service of process. A “motion made under Rule 12(b)(5) challenges the mode or lack

  of delivery of a summons and complaint.” Halik v. Brown, No. 19-cv-02354-KMT, 2020 WL

  5848797, 2020 U.S. Dist. LEXIS 181936, *7-8 (D. Colo. Sept. 30, 2020) (quotations omitted).

  Proper service is a jurisdictional prerequisite to litigation. Jenkins v. City of Topeka, 136 F.3d

  1274, 1275 (10th Cir. 1998). Without proper service, the Court lacks personal jurisdiction over a

  defendant. Okla. Radio Assocs. v. FDIC, 969 F.2d 940, 943 (10th Cir. 1992).

          To survive a motion under 12(b)(6), a complaint must contain sufficient factual matter,

  accepted as true, to “state a claim for relief that is plausible on its face.” Ashcroft v. Iqbal, 556 U.S.

  662, 678 (2009). That means a plaintiff’s “[f]actual allegations must be enough to raise a right to

  relief above the speculative level.” Bell Atl. Corp v. Twombly, 550 U.S. 544, 555 (2007).

  Conclusory allegations or “[t]hreadbare recitals of the elements of a cause of action, supported by

  mere conclusory statements, do not suffice.” Iqbal, 556 U.S. at 678-79; see also Shimomura v.

  Carlson, 811 F.3d 349, 359 (10th Cir. 2015) (“Conclusory allegations of conspiracy [do] not




  3
    The CSP defendants argue the Court should abstain from resolving the case under Younger v.
  Harris, 401 U.S. 37 (1971) in light of the pending state court proceedings. (See ECF 45, CSP MTD
  at 9-10; ECF 49, CSP Reply in Support of MTD at 3-4.) In the event the Court denies the Sheriff’s
  motion to dismiss, the Sheriff agrees the Court should abstain from proceeding on the action until
  the Colorado Court of Appeals rules—although the civil nature of Mr. Ditirro’s state court lawsuit
  (from which he voluntarily dismissed his Section 1983 claims) likely shifts the grounds of
  abstention to Colorado River Water Conserv. Dist. v. United States, 424 U.S. 800, 817–18 (1976).


                                                      5
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 6 of 15




  suffice.”). A court is not “bound to accept as true a legal conclusion couched as a factual

  allegation.” Iqbal, 556 U.S. at 678. “Nor does a complaint suffice if it tenders naked assertions

  devoid of further factual enhancement.” Id. (alterations omitted). Rather, to state a claim, “a

  complaint must explain what each defendant did to him or her; when the defendant did it; how the

  defendant’s action harmed him or her; and, what specific legal right the plaintiff believes the

  defendant violated.” Nasious v. Two Unknown B.I.C.E. Agents, 492 F.3d 1158, 1163 & n.5 (10th

  Cir. 2007) (Gorsuch, J.) (citations omitted and emphasis added). Group pleading “does not provide

  the specificity required by . . . Iqbal, and related cases.” Seni ex rel. Ciber, Inc. v. Peterschmidt,

  No. 12–cv–00320, 2013 WL 1191265, 2013 U.S. Dist. LEXIS 40264 *8 (D. Colo. Mar. 22, 2013).

                                             ARGUMENT

         The claims against Adams County Sheriff, Richard Reigenborn, should be dismissed for

  multiple reasons. The service of process was noncompliant with Rule 4. Any claims against him

  are barred by the applicable statute of limitations. Mr. Ditirro fails to state a claim against the

  County Sheriff based solely on the actions of the State Troopers. And if, somehow, such claims

  could exist, Sheriff Reigenborn is entitled to qualified immunity from them.

         I.      Mr. Ditirro Did Not Properly Serve the Adams County Sheriff Pursuant to
                 F.R.C.P. 4.

         Rule 4(e)(2) requires service be made on the defendant personally, or on among people, an

  authorized agent. The attached affidavits reveal no individual was actually served, let alone an

  authorized agent of the Sheriff. Mere hand delivery by leaving an envelope in a public-facing

  window is insufficient. See, e.g., Podlacha v. Dobrovlny, No. 20-cv-01801-WJM-KMT, 2021 WL

  1105362, 2021 U.S. Dist. LEXIS 54315, *3 (D. Colo. Mar. 23, 2021) (“Leaving a summons and

  complaint at a residence door, unaccompanied by a refusal to accept service [by the defendant], is

                                                    6
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 7 of 15




  not effective service under Rule 4.”). Moreover, a copy of the complaint was not served with the

  summons as required by Fed. R. Civ. P. 4(c)(1). Those deficiencies warrant dismissal under Fed.

  R. Civ. P. 12(b)(5). That dismissal, moreover, should be with prejudice given the statute of

  limitations issue apparent on the face of the complaint.

         II.     Mr. Ditirro’s Claims Are Barred by the Applicable Statute of Limitations

         Even if service had been properly effectuated on July 12, 2022, Mr. Ditirro’s claims are

  barred by the applicable two-year statute of limitations. Although the statute of limitations is an

  affirmative defense, it may be resolved on a Rule 12(b)(6) motion to dismiss “when the dates given

  in the complaint make clear that the right sued upon has been extinguished.” Aldrich v. McCulloch

  Props., Inc., 627 F.2d 1036, 1041 n.4 (10th Cir. 1980).

         The statute of limitations for claims under Colo. Rev. Stat. § 13-21-131 (counts two, four,

  six, eight, and nine) is two years. See Colo. Rev. Stat. § 13-21-131(5). As for Mr. Dittro’s Section

  1983 claims (counts one, three, five and seven), “[t]he Reconstruction Civil Rights Acts do not

  contain a specific statute of limitations governing § 1983 actions[.]” Wilson v. Garcia, 471 U.S.

  261, 266 (1985) (superseded by 28 U.S.C. § 1658 on unrelated grounds). “Because § 1983 claims

  are best characterized as personal injury actions,” the Supreme Court has “held that a [forum]

  State’s personal injury statute of limitations should be applied to all § 1983 claims.” Owens v.

  Okure, 488 U.S. 235, 240-41 (1989) (quotation omitted). “[W]here state law provides multiple

  statutes of limitations for personal injury actions, courts considering § 1983 claims should borrow

  the general or residual statute for personal injury actions.” Id. at 249-50.

         “Colorado has multiple personal injury statutes of limitations. In Colorado, the residual

  statute of limitations for all actions, including personal injury actions, provides a two-year



                                                    7
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 8 of 15




  limitations period.” Blake v. Dickason, 997 F.2d 749, 750 (10th Cir. 1993) (citations omitted); see

  Colo. Rev. Stat. § 13-80-102(1)(i) (providing a two-year statute of limitations for “[a]ll other

  actions of every kind for which no other period of limitation is provided”). Federal courts apply

  that limitations period to § 1983 claims arising in the State of Colorado. See, e.g., Fogle v. Pierson,

  435 F.3d 1252, 1258 (10th Cir. 2006) (“We have made clear that the statute of limitations for §

  1983 actions brought in Colorado is two years from the time the cause of action accrued.”); Blake,

  997 F.2d at 750-51 (applying § 13-80-102(1)(i); see also. Jenkins v. Chance, 762 F. App’x 450,

  454 (10th Cir. Jan. 29, 2019) (unpublished) (same); Rinaldo v. Unknown El Paso Cty. Sheriff's

  Deputies, No. 17-cv-01586-CMA-STV, 2018 WL 5619333, 2018 U.S. Dist. LEXIS 185592, *14-

  15 (D. Colo. Oct. 30, 2018) (same).

         Here, Ditirro’s cause of action accrued on August 7, 2018, the date of the incident of which

  he complains. ECF No. 44, FAC at ¶10; see Smith v. City of Enid By and Through Enid City

  Comm’n, 149 F.3d 1151, 1154 (10th Cir. 1998). Service has not yet been effectuated. But even if

  it had been on July 12, 2022, that is more than two years after the incident of which Mr. Ditirro

  complains. Even the initial July 7, 2021 filing of the complaint that initiated the present action was

  beyond the two-year statute of limitations.

         As a general matter, “[a]bsent a specific statutory provision, Colorado law does not allow

  for the tolling of a statute of limitations during the pendency of a prior action.” SMLL, L.L.C. v.

  Peak Nat. Bank, 111 P.3d 563, 565 (Colo. App. 2005) (quotation omitted); see Wallace v. Kato,

  549 U.S. 384 (2007) (looking to state law for tolling provisions). Colorado provides a remedial

  statutory tolling provision: “[i]f an action is commenced within the period allowed by this article

  and is terminated because of lack of jurisdiction or improper venue, the plaintiff may commence



                                                    8
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 9 of 15




  a new action upon the same cause of action within ninety days after the termination of the original

  action[.]” Colo. Rev. Stat. §13-80-111(1). This section “shall be applicable to all actions which

  are first commenced in a federal court as well as those first commenced in the courts of Colorado

  or of any other state.” Colo. Rev. Stat. §13-80-111(2).

         Mr. Ditirro did previously file a state court action, which was dismissed by the state court

  (and is now pending before the Colorado Court Appeals). Mr. Ditirro’s claims against the Adams

  County Sheriff, however, were dismissed for failure to state a claim under C.R.C.P. 12(b)(5); not

  for lack of subject matter jurisdiction or improper venue. Therefore, “the situation at issue here—

  in which the state claim was not ‘terminated because of lack of jurisdiction or improper venue’

  and, in fact, remains pending—is clearly not contemplated by the applicable remedial revival

  tolling statute provided by the Colorado legislature.” Onyx Props. LLC v. Bd. of County Comm’rs

  of Elbert County, 868 F. Supp. 2d 1171, 1177 (D. Colo. 2012). And if Mr. Dittiro’s claim that he

  voluntarily abandoned his prior case on appeal is credited, then all the more reason the tolling

  statute does not apply.

         As established from the face of the complaint and Mr. Dittiro’s return of service, his claims

  against the Adams County Sheriff were both filed and served outside of the applicable two-year

  statute of limitations. His claims, therefore, should be dismissed under F.R.C.P. 12(b)(6).

         III.    Mr. Ditirro Fails to State a Claim for Relief Against Sheriff Reigenborn

         The first amended complaint contains not a single factual allegation indicating why the

  Adams County Sheriff is named in the lawsuit. No deputy sheriff or county employee is identified.

  No specific county policy, action, or inaction is alleged. In fact, Mr. Ditirro never even specifically

  alleges where the incident occurred. Instead, Mr. Ditirro alleges misconduct by two state troopers



                                                    9
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 10 of 15




   who, he also alleges, were “at all times … working for and under the direction of the Colorado

   State Patrol as agent[s] for and agent[s] of the Defendant Colorado State Patrol.” (ECF 44, First

   Am. Compl. at ¶¶ 5 & 6.)

          Mr. Ditirro’s conclusory agency allegations in paragraphs 9 and 11 do not satisfy Rule 8

   for multiple reasons. First, its inconsistent with Mr. Ditirro’s earlier, more specific allegation in

   paragraphs 5 and 6 that each trooper “at all times” was an agent of the Colorado State Patrol. (ECF

   44, First Am. Compl. at ¶¶ 5 & 6.) In a conflict between general conclusory legal allegations and

   specific factual allegations, the specific factual allegations control. See Hirsch v. Arthur Andersen

   & Co., 72 F.3d 1085, 1095 (2d Cir. 1995) (affirming dismissal of a complaint where “attenuated

   allegations” supporting claim were “contradicted . . . by more specific allegations in the

   complaint”).

          Second, under statutory allocations of authority, state troopers are distinct from county

   sheriffs. Compare Colo. Rev. Stat. § 24-33.5-201 with § 30-10-506; see also Tonjes v. Park Cty.

   Sheriff’s Office, 300 F. Supp. 3d 1308, 1332 (D. Colo. 2018) (county sheriff is “the final

   policymaker for the Sheriff’s Office with respect to the employment of deputies,” under Colo. Rev.

   Stat. § 30-10-506); Myers v. Koopman, No. 09-cv-02802-REB-MEH, 2011 WL 650328, 2011 U.S.

   Dist. LEXIS 13655, *31-32 (D. Colo. Feb. 11, 2011) (“only a sheriff has the right to supervise and

   control the sheriff’s deputies” under Colorado law). A plaintiff cannot conflate the two different

   entities and survive a motion to dismiss. See Murtagh v. Bed Bath & Beyond Inc., No. 19-cv-

   03487-CMA-NYW, 2020 WL 4195126, 2020 U.S. Dist. LEXIS 129096, *8 (D. Colo. July 3,

   2020) (dismissing defendants where complaint conflated the two in the absence of a factual

   allegation that the same actions could be imputed to both defendants).



                                                    10
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 11 of 15




          Third, even assuming principal-agent principles could be applicable here (despite specific

   statutes to the contrary on point), something more than a conclusory allegation of collective agency

   is necessary to invoke a principal-agent relationship. See Romero v. United States, No. CV 14-640

   MV/WPL, 2015 U.S. Dist. LEXIS 175638, *53-54 (D.N.M. Sept. 30, 2015) (dismissing

   conspiracy claim because allegation that the individual defendants, who were federal agents, acted

   “as agents, servants, joint venturers, partners, employees, employers, or representatives of each

   other” failed to state a claim). Here no such factual allegations were made.

          Finally, even if there was some authority for the proposition that a county sheriff’s office

   could under certain circumstances act as an agent for the State, cf. McMillan v. Monroe Cty., 520

   U.S. 781 (1997), no such allegations have been made against a specific county actor here. Perhaps

   Mr. Ditirro named both the Adams County Sheriff and Commerce City because the underlying

   traffic stop occurred within Commerce City, which in turn lies within Adams County. But even

   assuming that supposition is correct, mere geography is not a basis to assert a claim against a

   governmental entity.

          In sum, Mr. Ditirro’s allegations as to the Adams County Sheriff are not only impermissible

   conclusory pleadings that state legal conclusions or parrot legal standards, but they also get those

   legal standards wrong. Even if they had not, the complaint has no factual allegations to support

   them. For those reasons, Mr. Ditirro fails to state a claim against the Adams County Sheriff.

          IV.     The Adams County Sheriff, Richard A. Reigenborn, Is Entitled to Qualified
                  Immunity on Any Federal Claims
          Qualified immunity shields government officials from Section 1983 damages suits so long

   as “their conduct does not violate clearly established statutory or constitutional rights of which a

   reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). When


                                                   11
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 12 of 15




   governmental officials assert qualified immunity, they create a rebuttable presumption of

   immunity from a Section 1983 claim. See Medina v. Cram, 252 F.3d 1124, 1129 (10th Cir. 2001).

   The plaintiff then bears the “heavy” burden of establishing that qualified immunity does not apply.

   Archuleta v. Wagner, 523 F.3d 1278, 1283 (10th Cir. 2008).

          The qualified immunity analysis has two elements: (1) Whether, under the facts alleged by

   the plaintiff, the government officials violated a constitutional right; and (2) whether the right at

   issue was “clearly established” at the time of the defendants’ alleged misconduct. Pearson v.

   Callahan, 555 U.S. 223, 232 (2008). “A plaintiff can demonstrate that a constitutional right is

   clearly established by reference to cases from the Supreme Court, the Tenth Circuit, or the weight

   of authority from other circuits.” Archuleta, 523 F.3d at 1283. Clearly established law should not

   be defined “at a high level of generality.” Mullenix v. Luna, 577 U.S. 7, 12 (2015). Rather, the

   dispositive question is “whether the violative nature of particular conduct is clearly established.”

   Id. If the plaintiff fails to satisfy any part of the qualified-immunity inquiry, “the court must grant

   the defendant qualified immunity.” Holland v. Harrington, 268 F.3d 1179, 1186 (10th Cir. 2001).

          In determining whether a right is clearly established, a plaintiff must point to Supreme

   Court or Tenth Circuit precedent (or the clear weight of other circuit courts) that recognizes an

   actionable constitutional violation in the circumstances presented. See Schwartz v. Booker, 702

   F.3d 573, 587–88 (10th Cir. 2012). Thus, it is Mr. Ditirro’s burden to identify a case where an

   official acting under sufficiently similar circumstances was held to have violated a claimant’s

   Fourteenth Amendment rights. See White v. Pauley, 137 S. Ct. 548, 552 (2017). “The dispositive

   question is whether the violative nature of the particular conduct is clearly established.” Aldaba v.

   Pickens, 844 F.3d 870, 877 (10th Cir. 2016); see also Mullenix v. Luna, 577 U.S. 7, 12 (2015). To



                                                     12
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 13 of 15




   satisfy this element, “existing precedent must have placed the statutory or constitutional question

   beyond debate.” Quinn v. Young, 780 F.3d 998, 1005 (10th Cir. 2015). “Put simply, qualified

   immunity protects all but the plainly incompetent or those who knowingly violate the law.” Patel

   v. Hall, 849 F.3d 970, 980 (10th Cir. 2017).

          Here, Mr. Ditirro will be unable to point to any Supreme Court or Tenth Circuit precedent

   construing the Constitutional provisions at issue as requiring a County Sheriff who hold no legal

   authority over state troopers to prevent those troopers from engaging in conduct allegedly in

   violation of the constitution, especially where there is no allegation the Sheriff was personally

   present during the encounter. Sheriff Reigenborn had no basis, let alone a clearly established basis,

   to believe he was under a duty to supervise and monitor state troopers. As such, the Adams County

   Sheriff, Richard A. Reigenborn is entitled to qualified immunity and should be dismissed with

   prejudice from this case.

                                            CONCLUSION

          For the foregoing reasons, the Adams County Sheriff, Richard A. Reigenborn requests this

   Court dismiss Mr. Ditirro’s First Amended Complaint against him with prejudice and for any such

   further relief as this Court deems appropriate.




                                                     13
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 14 of 15




   DATED: August 1, 2022.

                                     Respectfully submitted,

                                     s/Michael A. Sink
                                     Michael A. Sink
                                     Assistant County Attorney
                                     Adams County Attorney’s Office
                                     4430 S. Adams County Pkwy
                                     5th Floor, Suite C5000B
                                     Brighton, CO 80601
                                     Phone: (720) 523-6116
                                     Fax: (720) 523-6114
                                     msink@adcogov.org
                                     Counsel for Richard A. Reigenborn




                                       14
Case 1:21-cv-01840-CNS-STV Document 55 Filed 08/01/22 USDC Colorado Page 15 of 15




                                CERTIFICATE OF SERVICE

          I hereby certify that on August 1, 2022, the foregoing was electronically filed with the

   Clerk of the Court using the CM/ECF system which will send notification of such filing to all

   counsel of record.

   Jean Pirzadeh, Esq.
   Don Martin, Esq.
   The Colorado Christian Defense Counsel
   200 South Sheridan Blvd, Ste 150
   Denver, CO 80226
   Counsel for Plaintiff
   jean@ccd-c.com

   Allison R. Ailer, Esq.
   Colorado Attorney General
   1300 Broadway, 6th Floor
   Denver, CO 80203
   Counsel for CSP Defendants
   Allison.ailer@coag.gov

                                                s/Michael A. Sink
                                                Michael A. Sink
                                                Assistant County Attorney
                                                Adams County Attorney’s Office
                                                4430 S. Adams County Pkwy
                                                5th Floor, Suite C5000B
                                                Brighton, CO 80601
                                                Phone: (720) 523-6116
                                                Fax: (720) 523-6114
                                                msink@adcogov.org

                                                Counsel for Adams County Defendants




                                                  15
